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                     UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION



 In re:

 Jane Ann Slone,                                              Case No. 21-02171
                                                              Chapter 7
             Debtor(s).
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                    RE-NOTICE OF § 341 FIRST MEETING OF CREDITORS

The Trustee, Thomas R. Tibble hereby gives notice that the § 341 First Meeting of Creditors for Jane
Ann Slone has been rescheduled for October 21, 2021, commencing at 09:00 AM, and shall be held
telephonically due to concerns about COVID-19/coronavirus. Debtors, creditors, and other interested
parties should call the following conference line on the designated date and time:

                       Dial In: [ 1-877-706-1331 ]

                       Participant Passcode # [ 6591818 ] followed by # sign


Dated: October 13, 2021                    By: Thomas R. Tibble
                                               Thomas R. Tibble, Trustee
                                               2813 W. Main Street
                                               Kalamazoo, MI 49006
                                               Phone: (877) 237-8167
